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                                                     COURT M INUTES

          U.S.MAGISTG TE JUDGE LURANA S.SNOW -FORTLAUDERDALE,FLORIDA
DEFT: PAIJLA BAu ozA(p#'cetM t-a y                                  cAsExo:           21-6090-STRAU SS
AUSA: BrookeLatta-zoom                                              AU Y:              OmarMalone(CJA)-Zoom
                                                                                               (Ifapplicable-ap ealscolloquy)
AGEN T:                                                             W OL:
PROCEEDIN G: PRELIM EXAM /PTD C ARING                               RECOM M EN DED BOND :
BOND IIEARING H EL - es no                                COUNSEL APPOINTED :
BOND SET @:                                                         Tobecosignedby:
                                                                                            Rule77.1advised
Q       Donotviolateany law.
                                                                                                                                     #

        Appearincourtasdirected.

Q       Surrenderand/ordo notobtainpassports/travel
        documents.                                                                                                           -
Q       RpttoPTS asdirected/or           x'saweek/month by
        phone;            x'saweek/month inperson.
Q       Random urinetesting by PretrialServices.
        Treatmentasdeemednecessary.

Q       Maintain orseek full-timeemployment.

Q       No contactwithvictims/witnesses.                                                    > & +                    >  ee

Q       No firearms.

Q       Curfew.
              .                                              .

        Travelextendedto:                                     .


Q       Halfway House                                         .


NEXT COURTAPPEARANCE:                   DATE:                       TEWEI                     JUDGE:                PLACE:

mQUIRYRECOIJNS#L:
PTD/BOND HEARING:
ARRAIGN.:                                                 3/31/21           11:00am           STRAUSS
CIIECK IF                   ForthereasonsstatedbycounselfortheDefendantandfindingthattheendsofjusticesel
                                                                                                       wedbygrantingtheore
APPLICABLE              : tenusmotion forcontinuancetohirecounseloutweighthebestinterestsofthepublic& theDefendantinaSpeedy
                          Trial,theCourtfindsthattheperiod oftimefrom today,through and including            .shallbedccmed
                          excludablein accordancewiththeprovisionsoftheSpeedyTrialAct,18USC 3161etseq..
DATE:       3-3-21      TIM E:      R              DAR:       no     zz               and                PAGE:
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